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                                                291


 BROWN & CONNERY, LLP
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 Attorneys for Defendant Chief Phil Olivo

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
                                       CAMDEN VICINAGE


  CHRISTIAN BENTON, COALITION OF
  NEW JERSEY FIREARM OWNERS, GUN                        Civil Action No. 1:24-cv-07098-KMW-MJS
  OWNERS OF AMERICA, INC., and GUN
  OWNERS FOUNDATION,

                   Plaintiffs,
                                                               CERTIFICATE OF SERVICE
  v.

  MATTHEW PLATKIN, in his official
  capacity as the Attorney General of New
  Jersey, and Chief Phil Olivo, in his official
  capacity as the Police Chief of Pennsauken
  Township,

                   Defendants.



           I, Michael J. Miles, of full age, certify as follows:

           1.      I am a partner with the law firm of Brown & Connery, LLP, attorneys for Defendant

 Chief Philip P. Olivo, III in this matter.

           2.      On October 15, 2024, I served a copy of Defendant’s Reply Brief in further support

 of the Motion to Dismiss Plaintiff’s Complaint, Certification of Chief Philip P. Olivo, III and

 Certificate of Service on the following as indicated:




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                                               292


                            Clerk, United States District Court of New Jersey
                             Mitchell H. Cohen Building & U.S. Courthouse
                                          4th & Cooper Streets
                                      Camden, New Jersey 08101
                                         (Via Electronic Filing)

                                   Hon. Karen M. Williams, U.S.D.J.
                              United States District Court of New Jersey
                             Mitchell H. Cohen Building & U.S. Courthouse
                                          4th & Cooper Streets
                                      Camden, New Jersey 08101
                                          (Via Overnight Mail)

                                          All Counsel of Record
                                          (Via Electronic Filing)

           I certify that the foregoing statements are true. If any of these statements are willfully

 false, I am subject to punishment.

                                                  Respectfully submitted

                                                  BROWN & CONNERY, LLP
                                                  Attorneys for Defendant Chief Philip P. Olivo, III


 Dated: October 15, 2024                   By:     s/ Michael J. Miles
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